15-01115-scc        Doc 73   Filed 05/23/18    Entered 05/23/18 12:29:19     Main Document
                                              Pg 1 of 22


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Attorneys for Jil Mazer-Marino as Chapter 7
Trustee for Jacoby & Meyers - Bankruptcy LLP
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                        X
In re:                                                       Chapter 7

Jacoby & Meyers - Bankruptcy LLP, et al.                     Case No. 14-10641 (SCC)

                                     Debtors.
                                                        ■X

JIL MAZER-MARINO, as Chapter 7 Trustee for
Jacoby & Meyers - Bankruptcy LLP and Macey
Bankruptcy Law, P.C.

                                      Plaintiff,             Adv. Proc. No. 15-01115 (SCC)

               V.

THOMAS G. MACEY, JEFFREY J. ALEMAN,
RICHARD G. GUSTAFSON, II, SHOBHANA
KASTURI, GEORGE MACEY, and JASON SEARNS,

                                      Defendants.
                                                        X

         MOTION OF CHAPTER 7 TRUSTEE, PURSUANT TO RULE 9019 OF
           THE FEDERAL RULES OF BANKRUPTCY PROCEDURE, FOR
         APPROVAL OF STIPULATION AND ORDER SETTLING TRUSTEE’S
             CLAIMS AGAINST DEFENDANT SHOBHANA KASTURI
15-01115-scc      Doc 73    Filed 05/23/18    Entered 05/23/18 12:29:19        Main Document
                                             Pg 2 of 22


        Jil Mazer-Marino, the Chapter 7 Trustee (the “Trustee”^ of the bankruptcy estates

(“Estates”') of Jacoby & Meyers - Bankruptcy LLP and Macey Bankruptcy Law, P.C.

(collectively, the “Debtors”), by her counsel, Meyer, Suozzi, English & Klein, P.C., hereby

moves (the “Motion”) this Court pursuant to section 105 of title 11 of the United States Code

(the “Rankruntcv Code”) and Rule 9019 of the Federal Rules of Bankruptcy Procedure

(“Bankruptcy Rules”), for approval of the Stipulation and Order Settling Trustee’s Claims

Against Shobhana Kasturi (the “Stipulation”) between the Trustee and defendant Shobhana

Kasturi (“Kasturi” and together with the Trustee, the “Parties”). A true and correct copy of the

Stipulation is attached as Exhibit A.      In support of the Motion, the Trustee relies on the

Declaration in Support of the Motion of Chapter 7 Trustee, Pursuant to Rule 9019 of the Federal

Rules of Bankruptcy Procedure, for Approval of Stipulation and Order Settling Trustee’s Claims

Against Defendant Shobhana Kasturi, which is attached as Exhibit B and incorporated herein by

reference, and respectfully states as follows:

                                         JURISDICTION

        1.      The statutory predicates for the relief requested herein are section 105(a) of the

Bankruptcy Code and Bankruptcy Rule 9019(a). This Court has jurisdiction over the Motion

pursuant to 28 U.S.C. §§ 157 and 1334. Venue of this Motion in this Court is proper pursuant to

28 U.S.C. §§ 1408 and 1409.

                                                 FACTS

A.      The Debtors’ Chapter 7 Cases

        2.      On March 14, 2014 (the “Petition Date”), an Involuntary Petition for Relief was

 filed against each of the Debtors.

        3.      On June 16, 2014, orders for relief were entered against each of the Debtors.


                                                   2
15-01115-scc        Doc 73       Filed 05/23/18       Entered 05/23/18 12:29:19         Main Document
                                                     Pg 3 of 22


        4.        On June 16, 2014, the Trustee was appointed the interim chapter 7 trustee of the

Estates pursuant to Bankruptcy Code section 701(a) and has since qualified as permanent trustee.

B.      Adversary Proceeding and Kasturi’s Motion to Dismiss Amended Complaint

        5.        On May 29, 2015, the Trustee filed a complaint (Dkt. No. 1) (the “Complaint”)

commencing this adversary proceeding. 1

        6.        On March 14, 2016, the Trustee filed an amended complaint (Dkt. No. 48) (the

 Amended Complaint”! in this adversary proceeding.

        7.        In the Amended Complaint, the Trustee alleged, inter alia, that: (a) the Debtors

made no less than $331,231.41 of transfers to Kasturi or for Kasturi’s benefits in the one year

period prior to the Petition Date (during which time period, upon information and belief, Kasturi

incurred approximately $265,000 of debt for court fees on behalf of the Debtors); (b) during the

two year period prior to the Petition Date, the Debtors made the following payments to Kasturi

or for Kasturi’s benefit: (i) not less than $12,908.00 in 401K contributions, and (ii)

$1,056,632.07 in other transfers (during which time period, upon information and belief, Kasturi

incurred approximately $850,000 of debt for court fees on behalf of the Debtors); and (c) during

the four year period prior to the Petition Date, the Debtors made the following payments to

Kasturi or for Kasturi’s benefit: (i) no less than $59,890.32 in connection with the Debtors’ profit

sharing arrangement, (ii) no less than $26,072.00 in 401K contributions; and (iii) $2,315,188.48

in other transfers (during which time period, upon information and belief, Kasturi incurred $2

million of debt for court fees on behalf of the Debtors) (collectively, the “Transfers”) (Dkt. No.

48).




‘ Unless otherwise stated, all references to “Dkt. No.        refer to the Court docket in Adversary Proceeding
No. 15-01115 (SCC).
                                                         3
15-01115-scc     Doc 73     Filed 05/23/18    Entered 05/23/18 12:29:19          Main Document
                                             Pg 4 of 22


       8.       The Amended Complaint alleges the following causes of action against Kasturi:

(i) negligence, (ii) preferential transfers, pursuant to 11 U.S.C. § 547, (iii) intentional fraudulent

transfer, pursuant to 11 U.S.C. § 548(a)(1)(A), (iv) constructive fraudulent transfer, pursuant to

11 U.S.C. § 548(a)(l)(B)(i) and (ii)(I), (II) and (III), (v) fraudulent transfer, pursuant to 11

U.S.C. § 548(a)(l)(B)(i) and (ii)(IV), (vi) actual fraudulent transfer, pursuant to 740 Ill. Comp.

Stat. 160/5(a)(l), (vii) constructive fraudulent transfer, pursuant to 740 Ill. Comp. Stat.

160/5(a)(2), (viii) constructive fraudulent transfer, pursuant to 740 Ill. Comp. Stat. 160/6(a), and

(ix) fraudulent transfer, pursuant to 740 Ill. Comp. Stat. 160/6(b) (together, the “Claims”) (Dkt.

No. 48).

        9.      On May 9, 2016, Kasturi filed a motion to dismiss the Amended Complaint (Dkt.

No. 54) r“Motion to Dismiss”).

        10.     On August 22, 2016, Trustee filed an opposition to the Motion to Dismiss (Dkt.

No. 62).

        11.     On October 11, 2016, Kasturi filed a reply to the Trustee’s opposition to the

Motion to Dismiss (Dkt. No. 65).

        12.     The Motion to Dismiss is sub judice with the Court.

        13.     Thereafter, the Parties engaged in informal discovery leading to settlement

negotiations.

        14.     Subsequently, the parties were able to reach a consensual resolution of the

Trustee’s Claims against Kasturi.

        15.     After examining the information received in informal discovery, and having such

information reviewed by her forensic accountants, the Trustee believes that certain payments to

Kasturi were payments in reimbursement of payments made for the benefit of the Debtors and.


                                                  4
15-01115-scc    Doc 73     Filed 05/23/18    Entered 05/23/18 12:29:19        Main Document
                                            Pg 5 of 22


hence, Kasturi has defenses to certain of the causes of action. The Trustee also believes that

expending estate assets on a trial or a motion for summary judgment is not likely to result in a

meaningful benefit to the estate. This is especially true considering that Kasturi appears not to

have substantial assets. Accordingly, even if the Trustee is successful in obtaining a judgment

against Kasturi, the Trustee might not be able to monetize that judgment. Based primarily on the

foregoing, the Trustee believes that it is in the best interests of the estate to enter into a

settlement with Kasturi concerning the Claims raised in the Amended Complaint.

       16.     The Parties set forth and memorialized the terms of their agreement, subject to

approval of the Bankruptcy Court, in the Stipulation.

C.     Terms of the Settlement

       17.     Under the Stipulation, Kasturi will pay the Trustee the sum of $20,000 (the

“Settlement Sum”! in exchange for the Trustee providing Kasturi with the general release. The

Settlement Sum will be paid to the Trustee in four consecutive monthly payments of $5,000

(each payment, an “Installment Payment”).

       18.     In addition, as part of the Stipulation, Kasturi is releasing, waiving, and

discharging the Trustee and the Debtors’ Estates from any and all claims, including any claim

under Bankruptcy Code section 502(h) arising as a consequence of the payment of the Settlement

Sum.

                            REQUEST AND BASIS FOR RELIEF

        19.    By this Motion, the Trustee requests this Court approve the Stipulation.

       20.     Bankruptcy Rule 9019(a) provides, in relevant part, that: “[o]n motion by the

trustee and after notice and a hearing, the court may approve a compromise or settlement.”

       21.     As an over-all policy, bankruptcy settlements are favored because settlements

 generally “minimize costly litigation and further parties’ interests in expediting the
                                           5
15-01115-scc     Doc 73     Filed 05/23/18    Entered 05/23/18 12:29:19          Main Document
                                             Pg 6 of 22


administration of the bankruptcy estate.      In re Dewey & LeBoeuf LLP, 478 B.R. 627, 641

(Bankr. S.D.N.Y. 2012). See also In re Tower Automotive, Inc., 342 B.R. 158, 164 (Bankr.

S.D.N.Y. 2006) (“there is a general presumption in favor of settlements”); Nellis v. Shugrue, 165

B.R. 115, 123 (S.D.N.Y. 1994) (“the general rule [is] that settlements are favored”).

       22.     To approve a compromise and settlement under Bankruptcy Rule 9019(a), a

bankruptcy court should find that the compromise and settlement is fair, equitable, and in the

best interests of the debtor’s estate. See Motorola, Inc. v. Official Committee of Unsecured

Creditors and JPMorgan Chase Bank, N.A. (In re Iridium Operating LLC), 478 F.3d 452, 462

(2d Cir. 2006); In re Dewey, 478 B.R. at 641; In re Chemtura Corp., Case No. 09-11233, 2010

WL 4272727, at * 21 (Bankr. S.D.N.Y. October 21, 2010).

       23.     However, in determining whether to approve a proposed settlement, a bankruptcy

court need not decide the numerous issues of law and fact raised by the settlement, but rather

should “canvass the issues and see whether the settlement fall[s] below the lowest point in the

range of reasonableness,    In re W.T. Grant Co., 699 F.2d 599, 608 (2d Cir. 1983) (quotation

marks omitted); see In re Stone Barn Manhattan LLC, 405 B.R. 68, 75 (Bankr. S.D.N.Y. 2009)

(the court is not required to “conduct a mini-trial to ‘decide the numerous questions of law and

fact raised ... but rather to canvass the issues’ raised by the parties”); In re Tower Automotive,

Inc., 342 B.R. 158, 164 (Bankr. S.D.N.Y. 2006) (“A court assesses a settlement by determining

whether it ‘fall[s] below the lowest point in the range of reasonableness.’”).

       24.     Among other considerations, in determining whether a settlement is reasonable,

courts in the Second Circuit consider “(1) the balance between the litigation’s possibility of

success and the settlement’s future benefits; (2) the likelihood of complex and protracted

litigation, with its attendant expense, inconvenience, and delay, including the difficulty in


                                                 6
15-01115-scc       Doc 73     Filed 05/23/18    Entered 05/23/18 12:29:19        Main Document
                                               Pg 7 of 22


collecting on the judgment; [and] (3) the paramount interests of the creditors.” In re Iridium, 478

F.3d at 462 (quotation marks omitted).

        25.       The Trustee believes that further litigation of the Adversary Proceeding would be

costly, with no assurance of success as to liability or judgment collection,           Based on the

information provided to the Trustee by Kasturi regarding the Transfers, it appears that the

Transfers made by the Debtors to Kasturi were primarily reimbursements for business expenses

incurred by Kasturi on behalf of the Debtors, including payments of court filing fees. Therefore,

the Trustee believes that Kasturi could successfully defend against certain of the claims asserted

by the Trustee.

        26.       Thus, the Trustee believes that the settlement is fair, reasonable, and in the best

interests of the estate.

        27.       For the reasons set forth above, the Trustee believes the Stipulation is in the best

interests of the Debtors’ Estates and creditors, and should be approved.

                                               NOTICE

        28.       The Trustee will provide notice of this Motion to the Debtors, the United States

Trustee, counsel for Kasturi, all creditors for which the Trustee presently has a mailing address

and all parties who have filed a notice of appearance, and submits that such notice is adequate

and no other or further notice is required.




                                                    7
15-01115-scc     Doc 73     Filed 05/23/18    Entered 05/23/18 12:29:19      Main Document
                                             Pg 8 of 22


         WHEREFORE, for all of the foregoing reasons, the Trustee respectfully requests that

the Court approve the Stipulation, attached hereto as Exhibit A, and grant such other and further

relief as may be just and proper.

Dated:     Garden City, New York
           May 23, 2018

                                              MEYER, SUOZZI, ENGLISH & KLEIN P.C.


                                              By:           /s/ Howard B. Kleinbere
                                                     Jil Mazer-Marino
                                                     Howard B. Kleinberg
                                                     Michael Kwiatkowski
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                                              Trustee for Jacoby & Meyers - Bankruptcy LLP
                                              and Macey Bankruptcy Law, P. C.




                                                    8
15-01115-scc   Doc 73   Filed 05/23/18    Entered 05/23/18 12:29:19   Main Document
                                         Pg 9 of 22




                                   Exhibit A

                        Proposed Stipulation and Order
15-01115-scc     Doc 73    Filed 05/23/18 Entered 05/23/18 12:29:19         Main Document
                                         Pg 10 of 22


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 Bankruptcy Law, P. C.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     —X
In re:                                                      Chapter 7

Jaeoby & Meyers - Bankruptey LLP, et al.,                   Case No. 14-10641 (SCC)

                                     Debtors.
                                                       ■X
JIL MAZER-MARINO, as Chapter 7 Trustee for
Jacoby & Meyers - Bankruptey LLP and Maeey
Bankruptey Law, P.C.

                                     Plaintiff,             Adv. Proc. No. 15-01115 (SCC)

                V,


THOMAS G. MACEY, JEFFREY J. ALEMAN,
RICHARD G. GUSTAFSON, II, SHOBHANA
KASTURI, GEORGE MACEY, and JASON SEARNS,

                                     Defendants.
                                                        X

                     STIPULATION AND ORDER SETTLING TRUSTEE’S
                         CLAIMS AGAINST SHOBHANA KASTURI

         This stipulation (the “Stipulation”) is made by and among defendant Shobhana Kasturi

 (“Kasturi” or “Defendant”) and Jil Mazer-Marino, as Chapter 7 Trustee (the “Trustee” and.
15-01115-scc     Doc 73     Filed 05/23/18 Entered 05/23/18 12:29:19             Main Document
                                          Pg 11 of 22


together with the Defendant, the “Parties”) of the estates (the “Estates”) of Jacoby & Meyers —

Bankruptcy LLP and Macey Bankruptcy Law, P.C. (collectively, the “Debtors”).

                                            RECITALS

       WHEREAS, on March 14, 2014 (“Petition Date”), an Involuntary Petition for Relief

was filed against each of the Debtors;

       WHEREAS, on June 16, 2014, orders for relief were entered against each of the

Debtors;

       WHEREAS, on June 16, 2014, the Trustee was appointed the interim chapter 7 trustee of

the Estates pursuant to 11 U.S.C. § 701(a) and has since qualified as permanent trustee;

       WHEREAS, on May 29, 2015, the Trustee filed her complaint (the “Comnlaint”)

commencing the above-referenced adversary proceeding;

       WHEREAS, on March 14, 2016, the Trustee filed an amended complaint (the

 Amended Comnlaint”) in the above-referenced adversary proceeding;

       WHEREAS, in the Amended Complaint, the Trustee alleges, inter alia, that: (a) the

Debtors made transfers to Kasturi or for Kasturi’s benefit in the one year period prior to the

Petition Date; (b) during the two year period prior to the Petition Date, the Debtors made

payments to Kasturi or for Kasturi’s benefit; and (c) during the four year period prior to the

Petition Date, the Debtors made payments to Kasturi or for Kasturi’s benefit (collectively, the

 Transfers”).

       WHEREAS, the Amended Complaint alleges the following causes of action against

Kasturi: (i) negligence, (ii) preferential transfers, pursuant to 11 U.S.C. § 547, (iii) intentional

fraudulent transfer, pursuant to 11 U.S.C. § 548(a)(1)(A), (iv) constructive fraudulent transfer.

pursuant to 11 U.S.C. § 548(a)(l)(B)(i) and (ii)(I), (II) and (III), (v) fraudulent transfer, pursuant


                                                 -2-
15-01115-scc     Doc 73       Filed 05/23/18 Entered 05/23/18 12:29:19         Main Document
                                            Pg 12 of 22


to 11 U.S.C. § 548(a)(l)(B)(i) and (ii)(IV), (vi) actual fraudulent transfer, pursuant to 740 Ill.

Comp. Stat. 160/5(a)(l), (vii) constructive fraudulent transfer, pursuant to 740 Ill. Comp. Stat.

160/5(a)(2), (viii) constructive fraudulent transfer, pursuant to 740 Ill. Comp. Stat. 160/6(a), and

(ix) fraudulent transfer, pursuant to 740 Ill. Comp. Stat. 160/6(b) (together, the “Claims”);

       WHEREAS, on May 9, 2016, Kasturi filed a motion to dismiss the Amended Complaint

(“Motion to Dismiss”);

       WHEREAS, on August 22, 2016, Trustee filed an opposition to the Motion to Dismiss;

       WHEREAS, on October 11, 2016, Kasturi filed a reply to the Trustee’s opposition to the

Motion to Dismiss;

        WHEREAS, Kasturi disputes and denies the Trustee’s allegations, Kasturi and the Trustee

recognize the value of settlement, and the Parties desire to consensually resolve their disputes on

the terms set forth herein.

        NOW, THEREFORE, for good and valuable eonsideration, it is hereby stipulated,

consented to and agreed by and between the Parties as follows:


         1.      Kasturi shall pay to the Trustee the sum of $20,000 (the “Settlement Sum”) in
full satisfaction of the Trustee’s Claims against Kasturi.

        2.     The Settlement Sum shall be paid in four (4) consecutive monthly payments of
 $5,000 (each payment, an “Installment Payment”).

        3.      Each Installment Payment shall be delivered by overnight delivery so as to be
received by the Trustee on or before the dates set forth below. The first Installment Payment
shall be delivered on or before ten (10) business days after Bankruptcy Court Approval, the
second Installment Payment shall be delivered on or before forty days (40) after Bankruptcy
Court Approval, the third Installment Payment shall be delivered seventy (70 days) after
Bankruptcy Court Approval, and the fourth and final Installment Payment shall delivered one-
hundred (100) days after Bankruptcy Court Approval. Kasturi may prepay any or all of the
installment payments without penalty.

        4.      The Settlement Sum shall be delivered to the Trustee as follows:
                              Payable to: “Jil Mazer-Marino, Chapter 7 Trustee”
                              Delivered to: Meyer, Suozzi, English & Klein, P.C.
                                                 -3-
15-01115-scc     Doc 73     Filed 05/23/18 Entered 05/23/18 12:29:19             Main Document
                                          Pg 13 of 22


                               990 Stewart Avenue, Suite 300
                               Garden City, NY 11530-9194
                               Attn: Jil Mazer-Marino, Esq.


        5.      Kasturi represents and warrants to the Trustee that, except for compensation
(consisting of salary, bonuses, and profit sharing), benefits, consisting of 401(k) contributions,
medical, dental, and vision insurance benefits, maternity benefits, parking allowance,
professional dues, CLE expenses, and business expense reimbursements, including the Transfers
and the attendant benefits or rewards of such expense reimbursements, consisting of credit card
rewards, discounts or similar benefits, she has not received any transfers of money or property
from the Debtors during the four year period prior to the Petition Date.

        6.     Each of the following shall constitute an “Event of Default” under this
Stipulation:
               (a)     failure by Kasturi to pay an Installment Payment when due;
               (b)     demand is made on the Trustee, by or on behalf of Kasturi, to return,
                       disgorge or repay any portion of the Settlement Sum, including but not
                       limited to a demand made in connection with any insolvency proceeding,
                       bankruptcy proceeding, or action to avoid a fraudulent conveyance; and
               (c)     any breach of any representation or warranty made by Kasturi in this
                       Stipulation.

        7.      Subject to paragraph 8 below, if an Event of Default remains uncured 5 days after
written notice is given to Kasturi of such Event of Default, the Trustee or her successor or assign,
shall have the right to (a), (b), and (c) below, or in the alternative, (d):
                (a)     cause all amounts due under this Stipulation to become immediately due
                        and payable without any other notice or demand; and
                (b)     take  any and all actions to enforce the Stipulation without further notice to
                        Kasturi; and
                (c)     take whatever action at law or in equity that may appear necessary or
                        desirable to collect the amounts then due and thereafter to become due, or
                        to enforce the performance of any obligation, agreement or covenant of
                        Kasturi under this Stipulation.
                (d)     Or, in the alternative, reinstate all of the Trustee’s claims and causes of
                        action against Kasturi as asserted in the Amended Complaint; in such
                        event, all statutes of limitations applicable to the Amended Complaint and
                        the claims and causes of action asserted, or that could be asserted by the
                        Trustee against Kasturi, shall be and shall be deemed to be, tolled,
                        enlarged, postponed and extended nunc pro tunc to the date that is 180
                        days following the date of the last Event of Default. Kasturi hereby
                        waives, agrees not to assert, and is hereby estopped from asserting, any
                        claim, defense, or argument, whether legal, equitable, or contractual,
                        based on any statutes of limitations, limitations period, laches, waiver, or
                        estoppel, in any action or proceeding by, or on behalf of, the Trustee or the
                        Estates concerning the Amended Complaint, the claims and causes of

                                                  -4-
15-01115-scc     Doc 73    Filed 05/23/18 Entered 05/23/18 12:29:19            Main Document
                                         Pg 14 of 22


                       action asserted, or that could have been asserted, by or on behalf of the
                       Trustee or the Estates against Kasturi, unless sueh defense was available
                       Kasturi as of date hereof;

         8.     If the Event of Default is Kasturi’s breach of the representation set forth in
paragraph 5 hereof, then in addition to the remedies set forth in paragraph 7 above, and
notwithstanding the release set forth in paragraph 10 below, the Trustee shall have the right to
take whatever action at law or in equity that may appear neeessary or in the best interests of the
estate, including commencing an action to avoid any transfers that are in addition to the
Transfers and all of Kasturi’s rights and defenses are preserved.

        9.      This Stipulation is subject to Bankruptcy Court Approval and shall not become
effective unless and until Bankruptcy Court Approval is obtained. For purposes of this
Stipulation, Bankruptcy Court Approval shall mean the date that is fifteen (15) days after the
date that the United States Bankruptcy Court for the Southern District of New York “so orders”
this Stipulation or enters an Order approving this Stipulation pursuant to Rule 9019 of the
Federal Rules of Bankruptcy Procedure.

        10.    Upon the later of: (a) Bankruptcy Court Approval; and (b) the date that the
Settlement Sum clears the Trustee’s bank aceount and is indefensibly paid in full, subjeet to the
provisions of this Stipulation, the Trustee shall be deemed to have released, waived and
discharged Kasturi from any and all liabilities, obligations, aetions, suits, judgments, elaims,
eauses of action and demands, known or unknown, whatsoever at law or in equity.

        11.     Upon the later of: (a) Bankruptcy Court Approval; and (b) the date that the
Settlement Sum clears the Trustee’s bank account and is indefensibly paid in full, subject to the
provisions of this Stipulation, Kasturi shall be deemed to have released, waived and discharged
the Trustee and the Debtors’ Estate from any and all elaims, proofs of elaim, liabilities,
obligations, aetions, suits, judgments, causes of action and demands, known or unknown,
whatsoever at law or in equity, ineluding any claim under Bankruptcy Code section 502(h)
arising as a consequence of the payment of the Settlement Sum.

        12.     Subjeet to paragraph 8 above, after the timely, indefeasible payment of the
Settlement Sum in full, the Trustee shall execute and deliver to Kasturi a stipulation of dismissal
with prejudice.

       13.      The Parties each warrant that they have made no assignment, and hereinafter will
make no assignment of any elaim, chose in aetion, right of action, or any other right released
pursuant to this Stipulation.

        14.     Notwithstanding anything contained to the contrary herein, if the Trustee: (a) is
compelled by an order of a court of competent jurisdiction or required for any other reason to
return, disgorge or repay any portion of the Settlement Sum, in any insolvency or bankruptcy
proceeding eoncerning Kasturi, or (b) if the payment of any portion of the Settlement Sum is
avoided by Kasturi or any person or entity acting on behalf of Kasturi or Kasturi’s estate in any
insolveney or bankruptcy proceeding coneerning Kasturi, then the releases given by the Parties
pursuant to this Stipulation shall be deemed ineffeetive and the full amount of the Trustee’s

                                                 -5-
15-01115-scc     Doc 73     Filed 05/23/18 Entered 05/23/18 12:29:19           Main Document
                                          Pg 15 of 22


claims against Kasturi shall be reinstated without any further order of the Court, provided that
Kasturi shall be deemed to have reserved and preserved all defenses to such reinstated claims.

        15.     This Stipulation may be executed in counterparts each of which shall be deemed
an original, but all of which together shall constitute one and the same.

         16.    The undersigned represent and warrant that they have full authority to execute this
 Stipulation on behalf of their respective party or clients.

        17.    This Stipulation shall be binding upon and inure to the benefit of the Parties’
respective assigns and successors, including trustees and receivers.


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                                                 -6-
15-01115-scc    Doc 73     Filed 05/23/18 Entered 05/23/18 12:29:19           Main Document
                                         Pg 16 of 22


        This Stipulation may be signed and transmitted electronically or by facsimile, which shall
be deemed to have the full force and effect of original ink signatures.
        IN WITNESS WHEREOF and in agreement herewith, the Parties have executed and
delivered this Stipulation this 1day of May, 2018.

Dated: Garden City                                    Dated: 5/11/2018

MEYER, SUOZZI, ENGLISH & KLEIN, P.C.                  SHOBHANA KASTURI


By:            /s/ Jil Mazer-MarUio                         /s/ Shobhana Kasturi
        Jil Mazer-Marino                              Shobhana Kasturi, Individually
        Howard B. Kleinberg
        Michael Kwiatkowski
990 Stewart Avenue, Suite 300                         Dated: New York, New York
Garden City, NY 11530
Tel. (516) 741-6565                                   LAW OFFICES OF DAVID E. MOLLON

 Counsel for the Chapter 7 Trustee
                                                      By:            /s/ David E. Mollon
                                                      David E. Mollon
                                                      5 Penn Plaza, 19“^ Floor, Ste. 1900
                                                      New York, NY 10001
                                                      Tel. (212) 849-6831

                                                      Counsel for Shobhana Kasturi



 SO ORDERED THIS               DAY OF                        , 2018




 UNITED STATES BANKRUPTCY JUDGE




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15-01115-scc   Doc 73   Filed 05/23/18 Entered 05/23/18 12:29:19   Main Document
                                      Pg 17 of 22




                                  Exhibit B

                                   Declaration
15-01115-scc        Doc 73   Filed 05/23/18 Entered 05/23/18 12:29:19     Main Document
                                           Pg 18 of 22


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Attorneys for Jil Mazer-Marino as Chapter 7
Trustee for Jacoby & Meyers - Bankruptcy LLP
and Macey Bankruptcy Law, P. C.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                     ■X

In re:                                                    Chapter 7

Jacoby & Meyers - Bankruptcy LLP, et al.                  Case No. 14-10641 (SCC)

                                     Debtors.
                                                     ■X
JIL MAZER-MARINO, as Chapter 7 Trustee for
Jacoby & Meyers - Bankruptcy LLP and Macey
Bankruptcy Law, P.C.

                                     Plaintiff,           Adv. Proc. No. 15-01115 (SCC)

               V.

THOMAS G. MACEY, JEFFREY J. ALEMAN,
RICHARD G. GUSTAFSON, II, SHOBHANA
KASTURI, GEORGE MACEY, and JASON SEARNS,

                                     Defendants.
                                                    -X

          DECLARATION IN SUPPORT OF THE MOTION OF CHAPTER 7
             TRUSTEE, PURSUANT TO RULE 9019 OF THE FEDERAL
           RULES OF BANKRUPTCY PROCEDURE, FOR APPROVAL OF
           STIPULATION AND ORDER SETTLING TRUSTEE’S CLAIMS
                 AGAINST DEFENDANT SHOBHANA KASTURI
15-01115-scc         Doc 73       Filed 05/23/18 Entered 05/23/18 12:29:19              Main Document
                                                Pg 19 of 22


            JIL MAZER-MARINO, pursuant to 28 U.S.C. § 1746, declares the following to be true

under penalty of perjury:

            1.     I am an attorney at law, duly admitted to practice in the State of New York and

before this Court.

            2.     I am a shareholder at the law firm of Meyer, Suozzi, English & Klein, P.C., which

maintains an office for the practice of law at 990 Stewart Avenue, Suite 300, Garden City, New

Yorkll530.         This declaration is respectfully submitted in connection with the motion (the
it.
      Motion”) pursuant to section 105 of title 11 of the United States Code (the “Bankruptcy

Code”) and Rule 9019 of the Federal Rules of Bankruptcy Procedure r“BankriiDtcv Rules”), for

approval of the Stipulation and Order Settling Trustee’s Claims Against Shobhana Kasturi (the
a
      Stipulation”) entered into with defendant Shobhana Kasturi ^“Kasturi”).

            3.     The statements herein are based on my firsthand knowledge or based on my

review of relevant documents.

A.          The Debtors’ Chapter 7 Cases

            4.     On March 14, 2014 (the “Petition Date”), an Involuntary Petition for Relief was

filed against each of the Debtors.

            5.     On June 16, 2014, orders for relief were entered against each of the Debtors.

            6.     On June 16, 2014, I was appointed the interim chapter 7 trustee of the Estates

pursuant to Bankruptcy Code section 701(a) and I qualified as permanent trustee.

B.          Adversary Proceeding and Kasturi’s Motion to Dismiss Amended Complaint

            7.     On May 29, 2015, I filed a complaint (Dkt. No. 1) (the “Complaint”)

commencing this adversary proceeding. 1


' Unless otherwise stated, all references to “Dkt. No.       refer to the Court docket in Adversary Proceeding
No. 15-01115 (SCC).
                                                         2
15-01115-scc     Doc 73     Filed 05/23/18 Entered 05/23/18 12:29:19             Main Document
                                          Pg 20 of 22


        8.     On March 14, 2016, I filed an amended complaint (Dkt. No. 48) (the “Amended

Complaint”^ in this adversary proceeding.

        9.     In the Amended Complaint, as the Trustee, I allege, inter alia, that: (a) the

Debtors made no less than $331,231.41 of transfers to Kasturi or for Kasturi’s benefits in the one

year period prior to the Petition Date (during which time period, upon information and belief.

Kasturi incurred approximately $265,000 of debt for court fees on behalf of the Debtors); (b)

during the two year period prior to the Petition Date, the Debtors made the following payments

to Kasturi or for Kasturi’s benefit: (i) not less than $12,908.00 in 401K contributions, and (ii)

$1,056,632.07 in other transfers (during which time period, upon information and belief, Kasturi

incurred approximately $850,000 of debt for court fees on behalf of the Debtors); and (c) during

the four year period prior to the Petition Date, the Debtors made the following payments to

Kasturi or for Kasturi’s benefit: (i) no less than $59,890.32 in connection with the Debtors’ profit

sharing arrangement, (ii) no less than $26,072.00 in 401K contributions; and (iii) $2,315,188.48

in other transfers (during which time period, upon information and belief, Kasturi incurred $2

million of debt for court fees on behalf of the Debtors) (collectively, the “Transfers”) (Dkt. No.

48).

        10.     I'he Amended Complaint alleges the following causes of action against Kasturi:

(i) negligence, (ii) preferential transfers, pursuant to 11 U.S.C. § 547, (iii) intentional fraudulent

transfer, pursuant to 11 U.S.C. § 548(a)(1)(A), (iv) constructive fraudulent transfer, pursuant to

11 U.S.C. § 548(a)(l)(B)(i) and (ii)(I), (II) and (III), (v) fraudulent transfer, pursuant to 11

U.S.C. § 548(a)(l)(B)(i) and (ii)(IV), (vi) actual fraudulent transfer, pursuant to 740 Ill. Comp.

Stat. 160/5(a)(l), (vii) constructive fraudulent transfer, pursuant to 740 Ill. Comp. Stat.

160/5(a)(2), (viii) constructive fraudulent transfer, pursuant to 740 Ill. Comp. Stat. 160/6(a), and


                                                  3
15-01115-scc       Doc 73   Filed 05/23/18 Entered 05/23/18 12:29:19          Main Document
                                          Pg 21 of 22


(ix) fraudulent transfer, pursuant to 740 Ill. Comp. Stat. 160/6(b) (together, the “Claims”) (Dkt.

No. 48).

       11.      On May 9, 2016, Kasturi filed a motion to dismiss the Amended Complaint (Dkt.

No. 54) ^“Motion to Dismiss”).

       12.      On August 22, 2016,1 filed an opposition to the Motion to Dismiss (Dkt. No. 62).

       13.      On October 11, 2016, Kasturi filed a reply to my opposition to the Motion to

Dismiss (Dkt. No. 65).

       14.      The Motion to Dismiss is sub judice with the Court.

       15.      Thereafter, the parties engaged in informal discovery leading to settlement

negotiations.

       16.      Subsequently, the parties were able to reach a consensual resolution of the Claims

against Kasturi.

        17.     The parties set forth and memorialized the terms of their agreement, subject to

approval of the Bankruptcy Court, in the Stipulation.

C.     Terms of the Settlement

        18.     Under the Stipulation, Kasturi will pay me, as the Trustee, the sum of $20,000

(the “Sottlpment Sum”) in exchange for me, as the Trustee, providing Kasturi with the general

release. The Settlement Sum will be paid to me, as the Trustee, in four consecutive monthly

payments of $5,000 (each payment, an “Installment Payment”).

        19.     In addition, as part of the Stipulation, Kasturi is releasing, waiving, and

discharging me, as the Trustee, and the Debtors’ Estates from any and all claims, including any

claim under Bankruptcy Code section 502(h) arising as a consequence of the payment of the

Settlement Sum.


                                                 4
15-01115-scc        Doc 73    Filed 05/23/18 Entered 05/23/18 12:29:19        Main Document
                                            Pg 22 of 22


D.        The Stipulation Is In The Best Interests Of The Estate

          20.      Based upon examination of the information received in informal discovery, and

having such information reviewed by my forensic accountants, as the Trustee, I believe that

certain payments to Kasturi were payments in reimbursement of payments made for the benefit

of the Debtors, including payments of court filings fees, and, hence, Kasturi has defenses to

certain of the causes of action. I also believe that expending estate assets on a trial or a motion

for summary judgment is not likely to result in a meaningful benefit to the estate. This is

especially true considering that Kasturi appears not to have substantial assets. As such, even if I

am successful, as the Trustee, in obtaining a judgment against Kasturi, I might not be able to

monetize that judgment.         Accordingly, I believe that further litigation of the Adversary

Proceeding would be costly, with no assurance of success as to liability or judgment collection.

          29.      Based on all of the foregoing, I believe that the settlement embodied in the

Stipulation is reasonable and in the best interests of the Debtors’ Estates and creditors, and

should be approved.

Dated:          Garden City, New York
                May 23, 2018

                                                             /s/ Jil Mazer-Marino
                                                      Jil Mazer-Marino




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